     Case 7:20-cr-00240 Document 276 Filed on 11/30/21 in TXSD Page 1 of 2




                              UNITED STAT ES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    McALLEN DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §    Criminal No. M-20-0240-S3-05
                                                  §
RENE SEPULVEDA                                    §

                               NOTICE OF PLEA AGREEMENT

        COMES NOW the United States of America, hereinafter referred to as "the Government,'

by and through its United States Attorney for the Southern District of Texas and its Assistant

United States Attorney assigned to this matter, and would respectfully show the Court that the

Government and the Defendant have entered into the following plea agreement:

        1.     Defendant agrees:

               a.      to plead guilty to Count One ofthe Indictment; and

               b.      that the asset(s) listed in the Notice of Forfeiture is/are subject to forfeiture
                       to the United States and waives any and all interest in said asset(s) and
                       agrees to the Judicial or administrative forfeiture of any and all identified
                       assets, including but not limited to all property, real or personal, involved
                       in the offense and any property^ traceable to such property. Defendant
                       further agrees to waive any and all procedural notice requirements for
                       forfeiture.

        2.     The Government will recommend:

               a.      that the offense level decrease by 2 levels pursuant to U.S.S.G.§ 3El.l(a)
                       ifthe defendant clearly demonstrates acceptance of responsibility; and

               b.      that the remaining counts of the superseding indictment and remaining
                       indictments be dismissed at the time ofsentencing.

               c.      that criminal case no. 7:20-cr-00890 be dismissed at the time ofsentencing.

        If the Defendant is not a citizen ofthe United States of America,a plea ofguilty may result

in removal from the United States, denial of citizenship and denial of admission to the United

States in the future. If the Defendant is a naturalized United States citizen, a plea of guilty may

result in denaturalization.
  Case 7:20-cr-00240 Document 276 Filed on 11/30/21 in TXSD Page 2 of 2




        This document states the complete and only Plea Agreement between the United States of

America and the Defendant, and is binding only on the parties to this Agreement,and it supersedes

all prior understandings, if any, whether written or oral, and cannot be modified other than in

writing and signed by all parties or on the record in Court. No other promises or inducements

have been or will be made to the Defendant in connection with this case, nor have any promises

or threats been made in connection with this plea.

                                      ACKNOWLEDGMENTS:

        I have read this agreement and careflilly reviewed every part of it with my attorney. If I

have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.

Date:                                        Defendant:

        I am the Defendant's counsel. 1 have carefully reviewed every part ofthis agreement with

the Defendant. I certify that this agreement has been translated to my client by a person fluent in

the Spanish language if my client is unable to read or has difficulty understanding the English

language.

Date:
                                             Counsel tofrlDefense

For the United States of America:

                                             JENNIFER B. LOWERY
                                             Acting United States Attorney


                                             PATRICIA COOK PROFIT
                                             Assistant United States Attorney

APPROVED BY:




Angel Castro
Assistant United States Attorney in Charge
